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           Muret CPA, PLLC
           3326 E 27th Place
           Tulsa, OK 74114-5910




           Dayna Smart
           11467 Outpost Cove Dr
           Willis, TX 77318
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                                   Muret CPA, PLLC
                                    3326 E 27th Place
                                  Tulsa, OK 74114-5910
                                      918-301-1100

November 2, 2021

CONFIDENTIAL

Dayna Smart
11467 Outpost Cove Dr
Willis, TX 77318

Dear Shareholder:

We have prepared the enclosed copy of Form 1120-S, Schedule K-1 for Elkhorn Exploration Co.
It contains your share of the corporation's items of income (loss), credits and deductions, and
other information for the corporation's tax year ended December 31, 2020. These items are to be
reported on your federal income tax return; therefore, this Schedule should be retained with your
tax records and documentation.

Also enclosed is state K-1 information, if applicable. This information should also be retained
with your tax records and documentation.

We have retained a copy of the Schedule K-1 and other relevant documents for use in preparing
your federal income tax return and, if applicable, all State K-1 information for use in preparing
any state tax returns. We urge you to call for an appointment at your earliest convenience so that
we might begin preparation of your individual tax returns.

If you have any questions, or if we can be of assistance in any way, please do not hesitate to call.

Sincerely,



Muret CPA, PLLC
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                                                                                                                                                                                                                                671120
                                                                                                                                                Final K-1                          Amended K-1                            OMB No. 1545-0123

Schedule K-1                                                                                                               2020            Part III           Shareholder's Share of Current Year Income,
(Form 1120-S)                                                                                       For calendar year 2020, or tax year                       Deductions, Credits, and Other Items
Department of the Treasury                                                                                                                 1      Ordinary business income (loss)                13   Credits
Internal Revenue Service
                                                                                                                                                                          -40
                                   beginning                                                         ending                                2      Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                                                 3      Other net rental income (loss)
Credits, etc.      } See back of form and separate instructions.
                                                                                                                                           4      Interest income
                    Part I              Information About the Corporation
 A                  Corporation's employer identification number                                                                           5a     Ordinary dividends



 B                  Corporation's name, address, city, state, and ZIP code                                                                 5b     Qualified dividends                            14   Foreign transactions

                    Elkhorn Exploration Co
                                                                                                                                           6      Royalties

                    7065 W Ann Rd, Ste 130-446
                    Las Vegas            NV 89130                                                                                          7      Net short-term capital gain (loss)


 C                  IRS Center where corporation filed return                                                                              8a     Net long-term capital gain (loss)

                    e-file
                                                                                                                                           8b     Collectibles (28%) gain (loss)
                    Part II             Information About the Shareholder
 D                  Shareholder's identifying number                                                                                       8c     Unrecaptured section 1250 gain



 E                  Shareholder's name, address, city, state, and ZIP code                                                                 9      Net section 1231 gain (loss)

                    Dayna Smart
                    11467 Outpost Cove Dr                                                                                                 10      Other income (loss)                            15   Alternative minimum tax (AMT) items



                    Willis                                                           TX         77318


 F                  Current year allocation percentage
                                                                   ...............
                                                                                                       100.000000                  %


 G                  Shareholder’s number of shares

                      Beginning of tax year . . . . . . . . . . . . . . . . . . . . . . .

                      End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                          11      Section 179 deduction                          16   Items affecting shareholder basis

 H                  Loans from shareholder

                      Beginning of tax year . . . . . . . . . . . . . . . . . . . . . . .       $                                 0       12      Other deductions

                      End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $                                 0




                                                                                                                                                                                                 17   Other information
 For IRS Use Only




                                                                                                                                                                                                 V*                                   STMT




                                                                                                                                          18         More than one activity for at-risk purposes*
                                                                                                                                          19         More than one activity for passive activity purposes*

                                                                                                                                                   * See attached statement for additional information.
For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                                                                       Schedule K-1 (Form 1120-S) 2020
DAA
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                                                   Schedule K-1, Box 17, Code V
Form    1120-S                                Shareholder's Section 199A Information                                 2020
 Schedule K-1
                        For calendar year 2020 or tax year beginning                  , ending
Name                                                                                               Taxpayer Identification Number
Elkhorn Exploration Co
Dayna Smart
                                                                                  Pass-Through
                                        Activity Description                        Entity EIN    PTP   Aggregated     SSTB
Column   A      Page 1 Activity
Column   B
Column   C
Column   D
Column   E



QBI or Qualified PTP items:                       Column A             Column B    Column C      Column D            Column E
 Ordinary business income (loss)                            -40
 Net rental real estate income (loss)
 Other net rental income (loss)
 Royalty income (loss)
 Section 1231 gain (loss)
 Other income (loss)
 Section 179 deduction
 Other deductions
W-2 wages
Qualified property

Other Information:
 QBI allocable to cooperative pmts received
 W-2 wages allocable to qualified payments
 Section 199A(g) deduction

Section 199A REIT dividends
